
M’Nairy, J.1
I feel no sort of difficulty upon the questions arising out of the evidence in this cause. The defendant’s entry can be of no avail; not only because it wants notoriety, but because the objects called for want identity. To make an entry good, both these things must concur and exist. In general, a call for a tree is not good'; and indeed it never can be a good call, unless there is something else in the entry leading the subsequent locator so near to the place where the tree is, that it will not be imposing an unreasonable degree of trouble on him to make search for it. Every valid entry must contain such a degree of notoriety as to the objects called for, or such a description in relation to a notorious object, as will lead a subsequent inquirer, who uses reasonable diligence and industry, to the place located. The first call in this entry is, that the land shall lie on the south side of Duck River. This is a good call to show the part of the country where the land lies. The next call, to wit, on Lytle’s Creek, is still bringing you nearer to the place. The entry then calls to “ begin at a tree marked D L.” This tree is not shown, nor is it established where the tree stood, if it ever existed. In this point of view, the entry is void, for want of identity. If the tree could be shown, perhaps, as the Creek is only six miles long, it would not be unreasonable to require a subsequent locator *118to search for it. But upon this point, no opinion is given; it is not necessary that one should be given.
It seems to me that the grant of the plaintiff is sufficiently intelligible upon the face of it, without resorting to the plat and certificate of survey. It is undoubtedly true, as has been argued by the counsel for the defendant, that in general, when an object is called for in a grant, the line must terminate at that object, whether it be a tree, marked line, or natural boundary, unless there be something else in the grant, evidencing that the object is not called for as a termination of the line. In this case, the use of the expression in all, shows that the grantee did not intend to stop at the corner of Gilbert. Where then must he stop? Surely at the end of the distance. But if this should be doubtful, the question is disrobed of all its difficulty by resorting to the plat and certificate of survey, which I have no hesitation in saying may be done. It is admitted, and very properly admitted, that if a mistake is alleged to exist in the calls of the grant, parol proof may be introduced to show where the lines were actually run ; and the reason is much stronger in favor of the admission of the plat and certificate of survey.
Verdict for the plaintiff.

 Original Note. — Absent Todd, J.

